






In The



Court of Appeals



Ninth District of Texas at Beaumont



  ______________________ 


					

NO. 09-07-521 CR


  ______________________


	

DARTAGNAN A. BODWIN, Appellant



V.



STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 98279 






MEMORANDUM OPINION


	On October 1, 2007, the trial court sentenced Dartagnan Bodwin on a conviction for
burglary of a habitation.  Bodwin filed a notice of appeal on October 10, 2007.  The trial
court entered a certification of the defendant's right to appeal in which the court certified that
this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The district clerk has provided the trial court's certification to the Court of
Appeals.

	On October 17, 2007, we notified the parties that we would dismiss the appeal  unless
the trial court filed an amended certification within fifteen days of the date of the notice and
made it a part of the appellate record.  See Tex. R. App. P. 37.1.  The trial court has not
supplemented the record with an amended certification.

	Because the record does not contain a certification that shows the defendant has the
right of appeal, we must dismiss the appeal.  See Tex. R. App. P. 25.2(d).  Accordingly, we
dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	

								                                                        

                                                                                                     DAVID GAULTNEY

	                                                                                                       Justice


Opinion Delivered November 28, 2007

Do Not Publish


Before McKeithen, C.J., Gaultney and Kreger, JJ.



